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                                                                                         U.S. DiSTRICT COURT
                                                                                       t/STRICT OF MARYLAND
                              IN THE UNITED STATES DISTRICT COURl1UI9                             JAN -3 AM": 25
                                  FOR THE DISTRICT OF MARYLAND
                                                                                                 CLt:Rl-\"S OFFICE
       UNITED STATES OF AMERICA                                                                  AT GREf.IIBELT
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                                                         *                          ';':,V             ~     DE~UTY
              v.                                         *
                                                         *
                                                                 CRIMINAL        NO.   'Ps (YI                lct6YOODL{
       EMMANUEL        CLEMENT,                          *       (Money Laundering Conspiracy,
                                                         *       18 U.S.C. ~ 1956(h); Forfeiture,
                       Defendant                         *       18 U.S.c. ~ 982(a)(I), 21 U.S.c.
                                                         *       ~ 853(p), 28 U.S.c. ~ 2461(c))
                                                         *
                                                      *******
                                               INFORMATION

                                              COUNT ONE
                                      (Money Laundering Conspiracy)

             The United States Attorney for the District of Maryland charges that:

                                                  Introduction

             At times relevant to this Information:

              1.      Defendant EMMANUEL          CLEMENT        ("CLEMENT")         was a resident of

      Maryland.

                                                The Conspiracy

             2.       Between in or about August 2017 and in or about August 2018, in the District of

      Maryland and elsewhere, the defendant.

                                          EMMANUEL           CLEMENT,

      did knowingly conspire with other persons known and unknown to the United States to conduct

      and attempt to conduct financial transactions    which in fact involved the proceeds of specified

      unlawful activity, to wit. wire fraud, in violation of 18 U.S.c.   S   1343, while knowing that the

      property involved in the financial transactions represented the proceeds of some form of
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 unlawful activity and

                  a.     with the intent to promote the carrying on of specified unlawful activity, in

violation of 18 U.S.C.   S   19S6(a)(1 )(A)(i); and

                  b.     knowing that the transactions were designed in whole and in part to

conceal and disguise the nature, location, source, ownership, and control of the proceeds of said

specified unlawful activity, in violation of 18 U.S.c.    S   19S6(a)(l)(I3)(i).

                                Manner and Means of the Conspiracy

        It was part of the conspiracy that:

        3.        CLEMENT and others registered or caused to be registered the following shell

companies at addresses in Maryland, including CLEMENT's residence: Lexcinno Services

('"Lexcinno"), A-Tech Services LLC ('"A-Tech Services"), Kenrose Global Services LLC

('"Kenrosc"), Kinson Shoes LLC ('"Kinson Shoes"), and Devyn Landmark Contractors LLC

('"Devyn Landmark").

        4.        CLEMENT and others opened or caused to be opened bank accounts at various

 financial institutions under the business names of Lexcinno, A-Tech Services, Kenrose, Kinson

 Shoes, and Devyn Landmark.

        5.        CLEMENT and others, through false pretenses, solicited business paymcnts from

 companies located in the Unitcd States, Canada, and China ("the fraud proceeds"), and directed

 those payments into the bank accounts opened under the business names of Lexcinno and A-

 Tech Services.

        6.        CLEMENT and others laundercd the fraud proceeds by transferring the money

 from the Lexcinno and A-Tech Services bank accounts to the accounts opened under the




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business names of Kenrose, Kinson, and Devyn Landmark by means of cashier's checks and

wire transfers.

                                               Overt Aets

        7.        In furtherance of the conspiracy and to efTect the objects thereof, the defendant

and others committed and caused to be committed the following overt acts, among others, in the

District of Maryland and elsewhere:

                                         The Shell Companies

                  a.     On or about May 8, 2017, CLEMENT registered Lexcinno through the

Maryland State Department of Assessments and Taxation C'SDA T").

                  b.     On or about June 14,2017, a member of the conspiracy registered Devyn

Landmark through SDA T.

                  c.     On or about September 7, 2017, CLEMENT registered Kenrose through

SDAT.

                  d.     On or about September 7, 2017, CLEMENT registered A-Tech Services

through SDA T.

                  e.     On or about September 25, 2017, a member of the conspiracy registered

Kinson Shoes through SDAT.

                                          The Bank Accounts

                  f.     On or about January 3 1,2017, a member of the conspiracy opened a bank

account at Capital One Bank ending in 4148 ("Capital One x4 I48") under the Kinson Shoes

business name.

                  g.      On or about May 8, 2017, CLEMENT opened a bank account at Citibank

ending in 3978 ("Citibank x3978") under the Lexcinno business name.



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              h.      On or about September 1.2017, a member of the conspiracy opened a

bank account at BB&T Bank ending 5661 ("BB&T 5661") under the Devyn Landmark business

name.

              I.      On or about September 8, 2017, CLEMENT opened a bank account at

Citibank ending in 4460 ("Citibank x4460,,) under the A-Tech Services business name.

              J.      On or about September 13,2017, CLEMENT opened a bank account at

Capital One Bank ending in 5374 ("Capital One x5374") under the Kenrose business name.

                                 Business Email Compromises

              k.      In or about August 2017, a member of the conspiracy who posed as a

representative of Company 2-{)ne of Company I's suppliers-eontacted      Company I by email,

falsely represented to Company 1 that Company I was past due on money owed to Company 2,

and directed Company I to send an interstate money wire transfer of $20,64 7 to Citibank x3978

("the Company I business email compromise").

              1.      In or about September 2017, a member of the conspiracy who posed as a

representative of Company 3-{)ne of Company I 's suppliers-eontacted     Company 1 by email

and falsely represented to Company I that Company 1 was past due on money owed to Company



               m.     In or about August 2017, a member of the conspiracy who posed as a

representative of Company 5-{)ne of Company 4 's suppliers-eontacted     Company 4 by email,

falsely represented to Company 4 that Company 4 was past due on money owed to Company 5,

and directed Company 4 to send an interstate money wire transfer of $32,457 to Citibank x3978

("the Company 4 business email compromise").




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                  n.      In or about September 2017, a member of the conspiracy who posed as a

representative of one of Company 6's vendors contacted Company 6 by email, falsely

represented to Company 6 that Company 6 was past due on money owed to that vendor, and

directed Company 6 to send an international money wire transfer of $1,520,090 to Citibank

x4460 ("the Company 6 business compromise").

                                   Money Laundering Transactions

                  o.      On or about September 14,2017, CLEMENT obtained a cashier's check

with funds totaling $200,000 from Citibank x4460 that constituted proceeds of the Company 6

business email compromise, and deposited the cashier's check into Citibank x3978.

                  p.      On or about September 30,2017, CLEMENT obtained a cashier's check

worth $100,000 from Citibank x3978 that constituted proceeds of the Company 6 business email

compromise, and provided that check to his co-conspirator, who deposited the cashier's check

into Capital One x4148.

                  q.      On or about September 14,2017, CLEMENT obtained two cashier's

checks with funds totaling $100,000 from Citibank x4460 that constituted proceeds of the

Company 6 business email compromise, and deposited the cashier's checks into BB&T x5661.

                  r.      In or about September 2017, CLEMENT obtained $150,000 worth of

cashier's checks drawn on funds from Citibank x3978 that constituted proceeds of the Company

1, Company 4, and Company 6 business email compromises, and deposited the cashier's checks

into Capital One x5374.




18 U.S.C.   S   1956(h)




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                                     FORFEITURE ALLEGATION

        The United States Attorney for the District of Maryland further finds that:

        1.       Pursuant to Federal Rule of Criminal Procedure 32.2, notice is given to the

defendant that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.c.    S 982(a)(l)   as a result of the defendant's conviction under Count One of the

Information.

        2.       As a result of a convietion for the offense charged in Count One, the defendant,

                                       EMMANUEL CLEMENT,

will forfeit to the United States all property, real or personal, involved in a transaetion or

attempted transaction of such violation, and all property traceable to sueh property. The property

to be forfeited includes, but is not limited to, United States curreney.

        3.       Ifany of the property described above as being subjeet to forfeiture, as a result of

any act or omission of any defendant,

                 a.        cannot be located upon the exereise of due diligence;

                 b.        has been transferred or sold to, or deposited with, a third person;

                 c.        has been placed beyond the jurisdiction of the Court;

                 d.        has been substantially diminished in value; or

                 e.        has been commingled with other property which cannot be divided

                           without difficulty,

it is the intent of the United States, pursuant to 21 U.S.C.    S 853(p),   to seek forfeiture of any other

property of the defendant up to the value of the forfeitable property.




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18 U.S.C.   S 982(a)(I)
21 U.S.C.   S 853(p)
28 U.S.C.   S 2461(c)


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                                             Robe11 K. Hur
                                             United States Attorney




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